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                                                        - 519 -
                               Nebraska Supreme Court Advance Sheets
                                        310 Nebraska Reports
                                           STATE v. GNANAPRAKASAM
                                               Cite as 310 Neb. 519



                                 State of Nebraska, appellee, v. Samraj
                                      Gnanaprakasam, appellant.
                                                   ___ N.W.2d ___

                                        Filed December 3, 2021.   No. S-21-246.

                 1. Judgments: Speedy Trial: Appeal and Error. Generally, a trial court’s
                    determination as to whether charges should be dismissed on speedy trial
                    grounds is a factual question which will be affirmed on appeal unless
                    clearly erroneous.
                 2. Courts: Appeal and Error. The district court and higher appellate
                    courts generally review appeals from the county court for error appear-
                    ing on the record.
                 3. Judgments: Appeal and Error. When reviewing a judgment for errors
                    appearing on the record, the inquiry is whether the decision conforms
                    to the law, is supported by competent evidence, and is neither arbitrary,
                    capricious, nor unreasonable.
                 4. Speedy Trial. To calculate the time for speedy trial purposes, a court
                    must exclude the day the complaint was filed, count forward 6 months,
                    back up 1 day, and then add any time excluded under Neb. Rev. Stat.
                    § 29-1207(4) (Reissue 2016) to determine the last day the defendant can
                    be tried.
                 5. Speedy Trial: Indictments and Informations: Complaints. Although
                    the speedy trial statutes expressly refer to indictments and informations,
                    they also apply to prosecutions commenced by the filing of a complaint
                    in county court.
                 6. Speedy Trial: Misdemeanors: Warrants: Arrests. For misdemeanor
                    offenses where an “intimate partner” is an element of the offense, the
                    6-month period in which an accused is to be brought to trial commences
                    the date the defendant is arrested on a complaint filed as part of a war-
                    rant for arrest.
                 7. Speedy Trial: Proof. The burden of proof is upon the State to show by
                    the greater weight of the evidence that one or more of the excluded time
                    periods under Neb. Rev. Stat. § 29-1207(4) (Reissue 2016) are appli-
                    cable when the defendant is not tried within 6 months.
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            Nebraska Supreme Court Advance Sheets
                     310 Nebraska Reports
                       STATE v. GNANAPRAKASAM
                           Cite as 310 Neb. 519
 8. Speedy Trial: Good Cause. Neb. Rev. Stat. § 29-1207(4) (Reissue
    2016) does not specifically describe a “continuance” by the court’s own
    motion or judicial delay, but § 29-1207(4)(f) presents a catchall that
    designates as excluded in computing the time for trial other periods of
    delay not specifically enumerated in this section, but only if the court
    finds that they are for good cause.
 9. ____: ____. Judicial delay, absent a showing by the State of good cause,
    does not toll the speedy trial statute.
10. ____: ____. When a trial court relies on Neb. Rev. Stat. § 29-1207(4)(f)
    (Reissue 2016) to exclude time from the speedy trial calculation, it must
    make specific findings as to the good cause which resulted in the delay.
11. ____: ____. Evidence of good cause is properly presented at the hearing
    on the motion for absolute discharge and need not be articulated at the
    time of the court’s sua sponte order delaying trial.
12. ____: ____. Depending upon the evidence presented, a trial court can
    reasonably conclude that a bench trial poses a serious risk of exposing
    its participants to COVID-19 and therefore may be good cause under
    Neb. Rev. Stat. § 29-1207(4)(f) (Reissue 2016).

   Appeal from the District Court for Douglas County, Gregory
M. Schatz, Judge, on appeal thereto from the County Court
for Douglas County, Craig Q. McDermott, Judge. Judgment
of District Court affirmed.
  Thomas M. Petersen and Jennifer Miralles, of Petersen Law
Office, for appellant.
   Douglas J. Peterson, Attorney General, and Stacy M. Foust
for appellee.
  Miller-Lerman, Cassel, Stacy, Funke, Papik, and
Freudenberg, JJ., and Daugherty, District Judge.
    Cassel, J.
                     I. INTRODUCTION
   Samraj Gnanaprakasam appeals the judgment of the dis-
trict court, affirming a county court’s order denying his
motion for absolute discharge under the speedy trial statutes. 1
1
    See Neb. Rev. Stat. §§ 29-1205 to 29-1209 (Reissue 2016).
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            Nebraska Supreme Court Advance Sheets
                     310 Nebraska Reports
                        STATE v. GNANAPRAKASAM
                            Cite as 310 Neb. 519
Gnanaprakasam asserts that COVID-19 was not good cause to
delay his trial and that therefore, he was entitled to discharge.
He attempts to distinguish our recent pandemic jurisprudence, 2
because he was to be tried to the bench rather than by jury.
Finding no merit, we affirm.

                      II. BACKGROUND
   On December 2, 2019, Gnanaprakasam was arrested and
the State filed a complaint against him in the county court,
charging him with one count of third degree domestic assault,
a Class I misdemeanor. The State later amended the com-
plaint to charge him with assault and battery under the Omaha
Municipal Code. Following a 1-week delay resulting from
withdrawal of his counsel, the case was rescheduled for a
bench trial on April 17, 2020.
   However, on April 7, 2020, the court continued
Gnanaprakasam’s trial to June 16 for good cause under
§ 29-1207(4)(f). The court cited this court’s and the Douglas
County Health Department’s administrative orders regarding
the COVID-19 pandemic.
   On June 16, 2020, Gnanaprakasam filed a motion for abso-
lute discharge, asserting that the State failed to bring him to
trial within 6 months. At a hearing on his motion, the State
called no witnesses and offered no exhibits, but requested the
court to take judicial notice of its continuation order, which
the court did. Gnanaprakasam introduced an audio record-
ing of the hearing regarding the withdrawal of his counsel,
the cited administrative orders, and the Nebraska Pandemic
Bench Book.
   The county court overruled Gnanaprakasam’s motion for
discharge, citing this court’s and the Douglas County Board
of Health’s administrative orders regarding the COVID-19
pandemic. The court found that 197 days had elapsed between
2
    See, State v. Brown, ante p. 224, 964 N.W.2d 682 (2021); State v. Chase,
    ante p. 160, 964 N.W.2d 254 (2021).
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            Nebraska Supreme Court Advance Sheets
                     310 Nebraska Reports
                       STATE v. GNANAPRAKASAM
                           Cite as 310 Neb. 519
the filing of the complaint against Gnanaprakasam and his
motion for discharge, but that the 70 days after the court’s
postponement of trial were excludable under § 29-1207(4)(f).
The court explained that the COVID-19 pandemic qualified as
good cause for the delay.
   Gnanaprakasam filed a timely appeal to the district court,
which affirmed the county court’s order. The district court con-
cluded that the 70-day period was excludable for good cause,
because the COVID-19 pandemic “provided good cause for
suspension of all activity in the trial court, including the con-
tinuance of [Gnanaprakasam’s] trial until June 16, 2020.”
   Gnanaprakasam filed a timely appeal and subsequently peti-
tioned to bypass the Nebraska Court of Appeals. We granted
the petition. 3
   After the parties submitted their original briefs, this court
released two decisions 4 addressing COVID-19 as good cause
under § 29-1207(4)(f). We invited the parties to submit supple-
mental briefing regarding the applicability of those opinions to
the instant appeal. They did so, and we have considered their
submissions.
                III. ASSIGNMENT OF ERROR
    Gnanaprakasam assigns that the district court erred in
­affirming the ruling of the county court, which refused to
 sustain his motion for discharge, based upon the speedy trial
 provisions of § 29-1207.
                IV. STANDARD OF REVIEW
   [1] Generally, a trial court’s determination as to whether
charges should be dismissed on speedy trial grounds is a fac-
tual question which will be affirmed on appeal unless clearly
erroneous. 5
3
    See Neb. Rev. Stat. § 24-1106(2) (Cum. Supp. 2020).
4
    See, Brown, supra note 2; Chase, supra note 2.
5
    Brown, supra note 2.
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             Nebraska Supreme Court Advance Sheets
                      310 Nebraska Reports
                        STATE v. GNANAPRAKASAM
                            Cite as 310 Neb. 519
   [2,3] The district court and higher appellate courts generally
review appeals from the county court for error appearing on
the record. 6 When reviewing a judgment for errors appearing
on the record, the inquiry is whether the decision conforms
to the law, is supported by competent evidence, and is neither
arbitrary, capricious, nor unreasonable. 7

                          V. ANALYSIS
                   1. Speedy Trial Principles
   An appeal regarding the overruling of a motion for dis-
charge presents a relatively simple mathematical computation
of whether the 6-month speedy trial clock, as extended by stat-
utorily excludable periods, has expired before the commence-
ment of trial and does not require any showing of prejudice. 8
   [4-7] To calculate the time for speedy trial purposes, a court
must exclude the day the complaint was filed, count forward
6 months, back up 1 day, and then add any time excluded
under § 29-1207(4) to determine the last day the defendant
can be tried. 9 Although the speedy trial statutes expressly refer
to indictments and informations, we have held that they also
apply to prosecutions commenced by the filing of a complaint
in county court. 10 For misdemeanor offenses, such as the
original charge here, where an “intimate partner” is an ele-
ment of the offense, the 6-month period in which an accused
is to be brought to trial commences the date the defendant is
arrested on a complaint filed as part of a warrant for arrest. 11
The burden of proof is upon the State to show by the greater
weight of the evidence that one or more of the excluded time
 6
     Schaefer Shapiro v. Ball, 305 Neb. 669, 941 N.W.2d 755 (2020).
 7
     Id. 8
     See Chase, supra note 2.
 9
     Id.
10
     Id.
11
     Id.
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               Nebraska Supreme Court Advance Sheets
                        310 Nebraska Reports
                       STATE v. GNANAPRAKASAM
                           Cite as 310 Neb. 519
periods under § 29-1207(4) are applicable when the defendant
is not tried within 6 months. 12
   [8-10] Section 29-1207(4) does not specifically describe a
“continuance” by the court’s own motion or judicial delay, but
§ 29-1207(4)(f) presents a catchall that designates as excluded
in computing the time for trial “[o]ther periods of delay not
specifically enumerated in this section, but only if the court
finds that they are for good cause.” 13 We have explained that
judicial delay, absent a showing by the State of good cause,
does not toll the speedy trial statute. 14 And when a trial court
relies on § 29-1207(4)(f) to exclude time from the speedy trial
calculation, it must make specific findings as to the good cause
which resulted in the delay. 15

                   2. Motion for Discharge
   In Gnanaprakasam’s original brief, he supported his assign-
ment with two arguments. First, Gnanaprakasam asserted that
the district court erred when it continued his trial sua sponte
without a hearing, evidence, or argument to find good cause.
Next, Gnanaprakasam argued that the county court erred in its
order overruling his motion for discharge, because it was not
supported by good cause. Each will be addressed in turn.

                       (a) Continuance
   Gnanaprakasam first asserts that the State needed to estab-
lish good cause in order for the court to continue his trial.
Gnanaprakasam argues that the State needed to present evi-
dence at a hearing before the court could continue the case
sua sponte.
   [11] This argument has no merit. We have recently explained
that evidence of good cause is properly presented at the
12
     See id.
13
     Id.
14
     Id.
15
     Id.
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             Nebraska Supreme Court Advance Sheets
                      310 Nebraska Reports
                        STATE v. GNANAPRAKASAM
                            Cite as 310 Neb. 519
hearing on the motion for absolute discharge and need not be
articulated at the time of the court’s sua sponte order delay-
ing trial. 16
               (b) Order on Motion for Discharge
   Gnanaprakasam alternatively asserted that the court’s order
was not supported by the evidence adduced at the hearing.
In fact, he claimed that the evidence “only encourage[d] the
continued operation of courts during the pandemic and high-
light the concern for a[n] [a]ppellant’s right to a speedy trial
in criminal cases.” 17 Gnanaprakasam cites language from this
court’s administrative order that stated “no court shall close”
during the pandemic, that the Nebraska Pandemic Bench Book
(compiled before the COVID-19 pandemic) recommends only
that civil cases be continued, and that the Douglas County
Health Department’s administrative order exempted the courts
from its prohibition on public gatherings.
   This court recently explained that the circumstances entailed
by the COVID-19 pandemic were such that a court could find
good cause to delay a criminal trial. 18 In those cases, this court
found that the trial courts’ determinations that the COVID-19
pandemic was good cause for the courts to continue criminal
trials sua sponte were not erroneous. 19 The same is true here.
   In Gnanaprakasam’s supplemental brief, he asserts that State
v. Chase 20 and State v. Brown 21 are distinguishable from the
instant appeal because both cases entailed jury trials while
he would have received a bench trial. He argues that because
fewer people would be in the courtroom for a bench trial,
COVID-19 did not justify the continuance.
16
     Brown, supra note 2.
17
     Brief for appellant at 6.
18
     See, Brown, supra note 2; Chase, supra note 2.
19
     See id.
20
     Chase, supra note 2.
21
     Brown, supra note 2.
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             Nebraska Supreme Court Advance Sheets
                      310 Nebraska Reports
                        STATE v. GNANAPRAKASAM
                            Cite as 310 Neb. 519
   [12] We find no merit to Gnanaprakasam’s argument.
Depending upon the evidence presented, a trial court can
reasonably conclude that a bench trial poses a serious risk of
exposing its participants to COVID-19 and therefore may be
good cause under § 29-1207(4)(f). 22 Jurors are not the only par-
ticipants potentially placed at risk. This court’s administrative
order mandated that trial courts “devise and implement emer-
gency preparedness plans to carry out mission essential func-
tions.” The county court implemented a plan that it reasonably
believed was necessary to protect itself, court staff, and other
participants (including Gnanaprakasam himself) from exposure
to COVID-19.
                      VI. CONCLUSION
  The district court did not err in affirming the county court’s
order that found good cause for the continuances related to the
COVID-19 pandemic. We affirm the district court’s judgment.
                                                    Affirmed.
  Heavican, C.J., not participating.
22
     See, Brown, supra note 2; Chase, supra note 2.
